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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 WENJIE XIE,

                                 Plaintiff,
                                                      Civil Action No.: 24-cv-11674
                               v.
                                                      Honorable Judge Elaine E. Bucklo
 THE ENTITIES AND INDIVIDUALS
                                                      Magistrate Judge Young B. Kim
 IDENTIFIED IN ANNEX “A”,

                                Defendants.


                            DECLARATION OF GE (LINDA) LEI


I, Ge (Linda) Lei hereby declare, and state as follows:

       1.      I am an attorney with law firm Getech Law LLC. I am over the age of eighteen

and make this declaration from personal knowledge, unless otherwise indicated below. I make

this declaration in support of Plaintiff’s Motion for Entry of a Preliminary Injunction.

       2.      I represent the Plaintiff in the above-styled case.

       3.      Since the entry of this Court’s Sealed Temporary Restraining Order, Plaintiff has

worked diligently to comply with the terms of the order.

       4.      Plaintiff has served copies of the Temporary Restraining Order on the third parties

assisting the named Defendants identified in the Complaint.

       5.      Plaintiff has begun the process of identifying and freezing those accounts within

the control of third-party payment processors, including providing the Defendants’ identifying

information. Since and pursuant to entry of the TRO, financial accounts associated with the

Seller Aliases have been frozen.




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       6.      The third parties have provided the email addresses associated with the

Defendants’ Seller Aliases.

       7.      Plaintiff will serve Defendants via email, at those email addresses, with notice of

the Preliminary Injunction and other relevant documents in accordance with the TRO.



I declare under penalty of perjury of the laws of the United States of America that the forgoing

is true and correct.



       Executed on the 16th day of December, 2024, in Chicago, Illinois.




                                                             /s/ Ge (Linda) Lei
                                                             Ge (Linda) Lei




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